2 F.3d 1149
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin JONES, Plaintiff-Appellant,v.John MACLIN, IV, Attorney at Law;  Albert A. Dawson, Clerk,Circuit Court of Petersburg;  Lawrence R. Nowery, Chief ofPolice, City of Petersburg;  Joseph Harper, Jr., Sheriff,City of Petersburg, Defendants-Appellees.
    No. 93-6514.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 5, 1993.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-91-350-N)
      Melvin Jones, Appellant Pro Se.
      John Maclin, IV, Petersburg, Virginia;  Archer Lafayette Yeatts, III, Maloney, Yeatts &amp; Barr, P.C., Richmond, Virginia;  Samuel Pettaway Johnson, III, White, Hamilton, Wyche &amp; Shell, Petersburg, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Melvin Jones appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jones v. Maclin, No. CA-91-350-N (E.D. Va.  Feb. 19, 1992;  May 3, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    